        Case 3:07-cv-05944-JST Document 525 Filed 07/28/09 Page 1 of 2




 1 GUIDO SAVERI (22349)
       guido@saveri.com
 2   R. ALEXANDER SAVERI (173102)
       rick@saveri.com
 3   GEOFFREY C. RUSHING (126910)
       grushing@saveri.com
 4   CADIO ZIRPOLI (179108)
       cadio@saveri.com
 5   GIANNA GRUENWALD (228969)
       gianna@saveri.com
 6   SAVERI & SAVERI, INC.
     706 Sansome Street
 7   San Francisco, CA 94111
     Telephone: (415) 217-6810
 8   Facsimile: (415) 217-6813

 9 Interim Lead Counsel for the Direct Purchaser Plaintiffs
10
                                  UNITED STATES DISTRICT COURT
11
                               NORTHERN DISTRICT OF CALIFORNIA
12
                                       SAN FRANCISCO DIVISION
13
14 IN RE: CATHODE RAY TUBE (CRT)                 Case No. 3:07-cv-5944 SC
     ANTITRUST LITIGATION
15                                               MDL No. 1917
16                                               CLASS ACTION
17 This Document Relates to:                     NOTICE OF VOLUNTARY DISMISSAL
                                                 WITHOUT PREJUDICE AS TO
18     All Direct Purchaser Actions              DAEWOO ELECTRONICS
                                                 CORPORATION [F.R.C.P. 41(a)(1)]
19
                                                 The Honorable Samuel Conti
20
21
22
23
24
25
26
27
28

     NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
     Case No. 3:07-cv-5944 SC; MDL No. 1917
        Case 3:07-cv-05944-JST Document 525 Filed 07/28/09 Page 2 of 2




 1             Pursuant to Federal Rule of Civil Procedure 41(a)(1), the Direct Purchaser Plaintiffs in the

 2 above-captioned actions, through counsel, hereby dismiss without prejudice all claims made in
 3 these actions against Daewoo Electronics Corporation.
 4
 5 Dated: July 23, 2009                       Respectfully submitted,

 6                                            By:    /s/ Guido Saveri
                                                     Guido Saveri (22349)
 7                                                   R. Alexander Saveri (173102)
                                                     Geoffrey C. Rushing (126910)
 8                                                   Cadio Zirpoli (179108)
                                                     Gianna Gruenwald (22896)
 9                                                   SAVERI & SAVERI, INC.
                                                     706 Sansome Street
10                                                   San Francisco, California 94111
                                                     Telephone: (415) 217-6810
11                                                   Facsimile: (415) 217-6813

12                                                   Interim Lead Counsel for the
                                                     Direct Purchaser Plaintiffs
13
     crt.148
14
15                                                                  ATE
                                                                       S DISTRICT
                                                                                  C
                                                                   T                            O
                                                              S




16                                                                                               U
                                                             ED




                                                                                                  RT
                                                                                      ERED
                                                         UNIT




                                                                              O ORD
                                                                  IT IS S
17
                                                                                                     R NIA


                                                                                         onti
18                                                                                amuel C
                                                         NO




                                                                           Judge S
                                                                                                    FO
                                                            RT




                                                                                                 LI




19                                                                ER
                                                              H




                                                                                                A




                                                                       N                        C
                                                                                         F
                                                                           D IS T IC T O
                                                                                 R
20
21
22
23
24
25
26
27
28
                                                        2
     NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
     Case No. 3:07-cv-5944 SC; MDL No. 1917
